                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:05CR339-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )              ORDER
                                    )
ROYRE ERVIN,                        )
____________________________________)

        This matter is before the court upon defendant Royre Ervin’s Motion to Sever. A hearing
was held on these motions on February 13, 2006. At the hearing, the government was ordered to
produce proposed redacted statements to the court so that the court could review the statements
to determine if a Bruton issue compels severance. After reviewing the statements, the court
concludes that redaction and limiting instructions to the jury are insufficient to cleanse the
constitutional taint. See Richardson v. Marsh, 481 U.S. 200 (1987). As directed, the defendant
has renewed his Motion to Sever subsequent to the government’s production of the statements.
For the reasons articulated by the Supreme Court in Bruton and Richardson,
        IT IS THEREFORE ORDERED that defendant’s Motion to Sever is hereby GRANTED,
and defendant’s trial is hereby severed from that of his co-defendants.
                                                 Signed: April 20, 2006




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